Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21   Page 1 of 23 PageID 18




                     Exhibit E
Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21   Page 2 of 23 PageID 19




                       Exhibit E­1
                                                                                                                                   FILED
1   CIT ESERVE                                                                                                          2/16/2021 4:35 PM
                                                                                                                          FELICIA PITRE
                 Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                      Page 3 of 23 PageID 20          DISTRICT CLERK
                                                                                                                     DALLAS 00., TEXAS
                                                                                                                 Stephanie Clark DEPUTY

                                                            DC-21 -02065
                                                     NO.

           JACQUELINE FRANKLIN,                                    §         IN THE DISTRICT COURT
                                                                   §
                 Plaintif                                          §
                                                                   §
           VS.                                                     §         DALLAS COUNTY, TEXAS
                                                                   §
           AS AMERICA, INC.                                        §
            d/b/a AMERICAN STANDARD,                               §
                                                                           68th
                                                                   §
                 Defendant.                                        §                      JUDICIAL DISTRICT


                              PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND

                       The plaintiff, Jacqueline Franklin (“Plaintiff’ or “Franklin”), complains of AS America,

           Inc. d/b/a American Standard. (“Dcfcndant” or “American Standard”), as follows:

                  1.   Discovery in this action is intended to be conducted under Level 2 pursuant to TEX.

                       CIV. P. 190.

                       Franklin is a natural person and a resident of Dallas County, Texas.

                       American Standard is a manufacturer of plumbing xtures.         American Standard is a foreign

                       corporation, operating at 902    W Carrier Parkway, Grand Prairie, Texas 75050,       and this

                       action accrued in whole or in part at that place of business.

                       American Standard may be served with process by serving its registered agent: Corporation

                       Trust Company, 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3 136.

                       At all times material to this action, Franklin was employed by Ranstad USA, a recruitment

                       and stafng     company, and she was placed to work at the business of American Standard.

                       Venue is proper in this district because this action accrued in whole or in part at American

                       Standard’s place of business in Dallas County, Texas, where Franklin was subjected to

                       unlawful employment practices. This is a proceeding for legal and equitable relief, and

           Plaintiff’ s Original Petition and Jury Demand — Page   1
   Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                     Page 4 of 23 PageID 21



         compensatory and punitive damages, to secure the rights of Franklin under the laws of the

         State of Texas.

    7.   Jurisdiction is invoked pursuant to the Texas Commission on Human Rights Act of 1983

         (“TCHRA”), as amended, Texas Labor Code           §21.001 et. seq.

    8.   The matter in controversy exceeds, exclusive of interest and costs, the minimum

         jurisdictional limits of this Court.

                                         STATEMENT OF FACTS
    9.   Franklin is female and African-American.

    10. On September 9, 2017, Franklin was hired by Ranstad Technologies to work at American

         Standard’s and Safety Tubs in an IT Support Position. Franklin worked twenty hours a

         week through the     rst   week of October 20 l 7, when she transitioned to full-time work.

    11. Franklin was successful in performing her job duties for American Standard.          Franklin’s

         job duties included: managing equipment; preparing the Call Center for the new DFW

         location of Lixil Home Services; meeting With vendors to set up network infrastructure;

         setting up the network along with the Network Team from the corporate ofce;           ordering

         the   IT equipment for the new facility; acting as a project manager to facilitate the opening

         of the new location; supporting 100 remote users; and preparing devices for the new

         location, including printers.

    12. In June 2018, another site was added called Bath Crest, and Franklin was responsible for


         setting up a network to accommodate this user.

    13. Franklin did not have any job performance issues, and in addition to the day-to-day


         operations, and preparing for the opening of two new facilities, she also worked on at least

         eight other projects.

Plaintiff’ s Original Petition and Jury Demand — Page 2
   Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                      Page 5 of 23 PageID 22



    14.   At American    Standard, Franklin reported to Tarique Khan, Finance Director, in the event

          she needed to be absent for any reason. Otherwise, she reported to Steve Pudimont


          (“Pudimont”), the IT Director in New Jersey. Pudimont assisted with any network

          infrastructure issues. Franklin had weekly meetings with Khan and Pudimont.

    15 . In April 201 8, the Call Center in DFW opened, and      Franklin was splitting her time between

          there and the Grand Prairie location.

    16. In late October 2108, the company hired a Human Resource Director, Theresa Martinez


          (“Martinez”), Hispanic.

    17. In early March 2019, Franklin noted an issue with equipment that could not be accounted

          for in the new building. On March 8, 2019, Franklin met with Martinez to advise her what

          she had discussed with her supervisors to prevent further equipment from going missing.

          On April 9, 2019, Franklin had a further conversation with Pudimont about an ongoing

          issue with missing equipment.

    18. From April 9, 20 1 9 to April 15, 20 l 9, Franklin had meetings relating to missing equipment,

          and Martinez made a statement to Franklin to the effect that    if she did not work within the
          boundaries of the Call Center regarding the equipment, that it would ruin Franklin’s

          chances of being hired by American Standard. Franklin was taken aback by this comment

          given that she had been working closely with supervisors to     x   the problem.

    19. Franklin reported the statement         of Martinez to Rob Buete (“Buete”), Vice President for

          American Standard. Buete just told Franklin that Martinez did not mean What she said.

          After this report, Martinez starting micro-managing and closely scrutinizing Franklin’s

          work.




Plaintiff’ s Original Petition and Jury Demand — Page 3
   Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                       Page 6 of 23 PageID 23



    20. In the later part of June 2019, an      IT Support position with American Standard was posted,

          and Franklin applied. After applying, Franklin expressed concerns to Buete that because        of

          how Martinez was unfairly treating her that she was concerned the interview process would

          not be fair. Franklin found out that she had been scheduled for an interview with Buete,

          but that Martinez failed to send Franklin the invite for the interview and she missed the

          interview. When confronted, Martinez stated that she forgot to send Franklin the invitation.

    21. In late June, Martinez called Franklin and told her that American Standard had hired Joe

          Martinez, Hispanic, for the position. Theresa Martinez asked Franklin to stay until the

          middle of August 2019 to train him.

    22. After nding       out she did not receive the position, on June 28, 2019, Franklin led            a


          complaint With Ranstad       USA, asserting     that the hiring decision was discriminatory and


          retaliatory, and that she had greater experience and qualications        to do the job than the


          person hired. The complaint was lled             with Willie Monterroso (“Monterroso”), Sr.

          Adviser-Employee Resources, for Ranstad US. Monterroso reported Franklin’s complaint

          to American Standard and Franklin was interviewed concerning her complaint an attorney




                                               w
          for American Standard and their Chief of Security.

    23. On August 15, 2019, Franklin’s contract with American Standard was terminated.




    24. Franklin is female and African-American and she is a member

          groups within the meaning of the       TCHRA.
                                                                                of protected sex   and race




    29.   At all times material     to this action, American Standard employed at least fteen          (15)

          employees and is an employer within the meaning of the         TCHRA.

          A.      American Standard employs more than 100 employees;

Plaintiff’ s Original Petition and Jury Demand — Page 4
   Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                     Page 7 of 23 PageID 24



           B.      American Standard employs more than 200 employees;
           C.      American Standard employs more than 500 employees.

    30.     All conditions precedent to the ling of this suit have been met:

           A.      On or about October 7, 2019, Franklin timely led a charge of discrimination,
                   Charge No. 450-2019-05202, with the Texas Workforce Commission (“TWC”)
                   alleging sex, race, and retaliation discrimination;

           B.      More than 180 days and less than 2 years have passed since the ling     of the charge
                   of discrimination.

    3 1.   During her employment, Franklin opposed discriminatory and retaliatory conduct,

           including in how she was being treated by Martinez, and in not being selected for an IT

           Support position, that Franklin had a good faith belief was discriminatory and/or

           retaliatory.

    32. Franklin alleges that American Standard, through its employees and agents, including but

           not limited to Martinez, engaged in a continuing pattern and course        of discriminatory

           conduct against her because of sex, race, and/or in retaliation for her opposition to

           discriminatory employment practices in violation of the   TCHRA, and specically:
           A.      American Standard exhibited favor or preference for male and Hispanic employees,
                   in the terms, conditions, privileges, and benets of employment, including in not
                   hiring her in May 201 9 as IT Support for American Standard, and terminating her
                   contract on August 15, 2019;

           B.      American Standard retaliated against Franklin for having opposed conduct which
                   she had a good faith belief was discriminatory and/or retaliatory, by not hiring her
                   in May 2019 as IT Support for American Standard and terminating her contract on
                   August 15, 2019.

    33. American Standard engaged in the conduct described above with malice or reckless

           indifference to the   TCHRA employment rights of its employees including Franklin.

    34. Franklin has no plain or adequate remedy at law to correct the wrongs complained and thus

           institutes this suit for declaratory and injunctive relief. Further, Franklin is now suffering

Plaintiff’ s Original Petition and Jury Demand — Page   5
   Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                      Page 8 of 23 PageID 25



         and   will continue to suffer irreparable injury from American Standard’s willful policies,

         practices, customs and usages.

                                           RELIEF REQUESTED
         35. Franklin requests that this Court grant her monetary relief over $200,000 but less than

$1,000,000 as follows:

         A.         A declaratory judgment, declaring American Standard’s past practices herein
                    complained of to be unlawful under the TCHRA;

         B.         A   permanent injunction, enjoining American Standard from continuing to
                    discriminate against her on account of sex, race, and/or opposition to the
                    discriminatory employment practices of American Standard in Violation of the
                    TCHRA;
               C. Damages for the discriminatory treatment, including all back pay, front pay,
                  reinstatement, retroactive seniority, promotions to which Franklin would otherwise
                    have been entitled, and all other employee benets including health, disability,
                    pension and life insurance benets to which Franklin would otherwise have been
                    entitled and any other relief necessary to compensate her under the TCHRA;

               D. Compensatory and punitive damages for the Violation of rights under the    TCHRA
                  in the maximum amount prescribed by law;

               E. Implementation of a clear and effective grievance procedure for employment
                    discrimination complaints with an effective non-retaliation provision;

               F. Attorney fees necessary for the prosecution of the TCHRA claims;

               G. Costs in this action, including expert witness fees;

               H. Pre-judgment interest at the legally prescribed rate from the date of the Violations
                  until judgment as well as post-judgment interest as applicable;

               I.   Such other general relief to which Franklin is justly entitled.

                                               JURY DEMAND




Plaintiff’ s Original Petition and Jury Demand — Page 6
   Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                     Page 9 of 23 PageID 26



    35. Franklin demands a jury on all        TCHRA claims and   specically,     the ultimate issues   of fact

         as to the merits    of the dispute, backpay, frontpay, employee       benets,   and compensatory

         and punitive damages, excepting the attorneys' fees issues.




Plaintiff’ s Original Petition and Jury Demand — Page 7
  Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                          Page 10 of 23 PageID 27




                                                       Respectllly   Submitted,



                                                       /s/ JaneLe ler
                                                       Jane Legler
                                                       Texas Bar N0. 03565820
                                                       Christine Neill
                                                       Texas Bar No. 00796793
                                                       Kyla Gail Cole
                                                       Texas Bar No. 24033 1 13

                                                       Neill Legler Cole PLLC
                                                       3 141d Street, Ste. 200
                                                       Dallas, Texas 752 l 9
                                                       (214) 748-7777
                                                       (214) 748-7778 (facsimiles)
                                                       christine@nlcemployeelaw.com
                                                       iane@nlcemploveelaw.com
                                                       kyla@nlcemploveelaw.com

                                                       Attorneys for Plaintiff




Plaintiff s Original Petition and Jury Demand — Page   8
Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21   Page 11 of 23 PageID 28




                       Exhibit E2
                         Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                            Page 12 of 23 PageID 29



FORM NO. 353-3 - CITATION                                                                                                               ESERVE
THE STATE OF TEXAS                                                                                                                  CITATION

T0:      AS AMERICA INC. d/b/a AMERICAN STANDARD
         BY SERVING ITS REGISTERED AGENT CORPORATION TRUST COMPANY                                                                 DC-21-02065
         1999 BRYAN STE 900
         DALLAS TX       75216-3136
                                                                                                                               JACQUELINE FRANKLIN
GREETINGS:                                                                                                                                  vs.
You have been sued. You may employ an attorney. If you or your attorney do not le a written                                        AS AMERICA INC.
answer with the clerk who issued this citation by 10 o'clock a.1n. of the Monday next following the expiration of
twenty days after you were served this citation and petition, a default judgment may be taken against you. In addition
to ling a written answer with the clerk, you may be required to make initial disclosures to the other patties of this               ISSUED THIS
suit. These disclosures generally must be made no later than 30 days aer you le your answer with the clerk. Find              18th day of February, 2021
out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 68th District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                  FELICIA PITRE
Said Plaintiff being JACQUELINE       FRANKLIN
                                                                                                                                Clerk District Courts,
Filed in said Court 16th day of February, 2021 against                                                                          Dallas County, Texas

AS AMERICA INC. d/b/a AMERICAN STANDARD
                                                                                                                         By: CARLENIA BOULIGNY, Deputy
For Suit, said suit being numbered DC-21-02065, the nature ofwhich demand is as follows:
Suit on EMPLOYMENT etc. as shown on said petition, a copy of which accompanies this citation. If this citation is              Attorney for Plaintiff
not served, it shall be returned unexecuted.                                                                                        JANE LEGLER
                                                                                                                             NEILL LEGLER COLE PLLC
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                               3141 HOOD STREET SUITE 310
Given under my hand and the Seal of said Court at ofce this 18th day of February, 2021.
                                                                                                                                  DALLAS TX 75219
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                        214-748-7777
                                                                                                                              jane@nlcemployeelaw.com


                           By   WWCARLENM BOULIGNY
                                                                             ,   Deputy
                                                                                                                              DALLAS COU NTY
                                                                                                                               SERVICE FEES
                                                                                                                                    NOT PAID
                                Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                                                Page 13 of 23 PageID 30



                                                                            OFFICER'S RETURN
Case No.   :   DC-21-02065

Court No.68th District Court

Style:   JACQUELINE FRANKLIN
vs.

AS AMERICA INC.,
Came to hand on the                            day of                       ,   20             ,   at                 o'clock          .M. Executed at

within the County of                                       at                   o'clock                 .M. on the                    day of

20                     ,   by delivering to the within named



each in person, a true copy     of this Citation together with the accompanying copy of this pleading, having first endorsed on same            date   of delivery. The distance actually traveled by
me in serving such process was                  miles and my fees are as follows: To certify which witness my hand.

                                  For serving Citation          $

                                  For mileage                   $                                       of                        County,

                                  For Notary                    $                                       By                                                     Deputy

                                                                    (Must be veried       if served outside the State of Texas.)
Signed and sworn to by the said                                         before me this                       day of                         ,   20

to certify which witness my hand and seal       of ofce.


                                                                                                        Notary Public                                         County
Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21   Page 14 of 23 PageID 31




                       Exhibit E3
                                          CIVIL1-5
                 Case 3:21-cv-00709-K Document  CASEFiled
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                                                          RMATION SHE ET 15 of 23 PageID 32
                 CAUSE NUMBER (F01: CLERK usE
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                                                                                                                                                            y):
                      STY LED      JACQUELINE FRANKLIN V AS
                                                            AMERICA, INC. DIE/A AMERICAN STANDA
                                                                                                RD
                                     (c.g.. John Smith v. All Amen'can Insurance
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     health case or when a                                                        an original petitio or
                            post-judgment petition for modication or motion                          n     applicati0n is led to initiate a new cIvIl,
     the time of lin                                                                for enforc ement  is
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     l. Contact information for
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   Name:                                                                                                                                                                            m
                                                       Email:                                                                                                     .Attorney for Plainti'lPetitioner
                                                                                                       Plaintilsyl’etitiones):
     JANE LEGLER
                                                                                                                                                                  UPro Se Plainti‘fPetitioner
                                                       JANEQNLCEMPLDVEELchom                           JAcuUELINE FRANKLIN                                        DTitle IV-D Agency
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   Add ress:
                                                      Telephone:
     3141 HOOD STREET. SUVTE 200
                                                       214-748-7777                                                                                               Additional Parties in Child
                                                                                                                                                                                              Support Case:
  City/Statei’lip:                                                                                    Defendantis)/Respoiident(s):                                Custodial Parent:
                                                      Fax:
   DALLAS. TEXAS 75219                                                                                 As Anemia. mc. mam AMERICAN STANDA
                                                                                                                                                    RD
                                                       214445—7775

                                                                                                                                                                  Non-Custodial Parent:
     ignature:
                                    w                 State Bar No:

                                                       03555820                                                                                                   Presumed Father:
                                                                                                      [Attach additional page as necessary ta list nlI
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  2. Indicate case t       e, or   identifv the most im nrtant issue in the case select
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                                               DConstruction                                                                                                                    Enforcement
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      DDebt/Contract                           DDefamation                                                                               DDeclare Marriage Void              DModification—Custody
      DFrand/Misrepresentation                                                            DPanition                                      Divorce
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      DOther Debt/Contract:                                                               DQuiet Title                                       DWith Children
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                                                                                                                                         DProtective Order                   DCustody or Visitation
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                                                                                                                                         DRemoval of Disabilities
                                              Dome” n'Jury or Damage         3            DOther:                                            of Minority                                    Parenting
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             Em lo ment                                                                                                                                                     UTermination of Parental
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 IDiscrimination
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 E  Workers’ Compensation
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 EOther Employment:                            DForeign Judgment                          UOther:
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                    Tax
 DTax Appraisal                                                                                                   Probate & Mental Health
                                               Probate/Wills/Intertare Administration
 UTax      Delinquency                            DDependent Administration
                                                                                                                               l [Guardianship—
                                                                                                                                                Adult
 DOther Tax                                       Ulndependent Administration
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                                                  DOther Estate Proceedings                                                    DMental Health
                                                                                                                               DOther:
3. Indicate
           proced ure or remedy, if applicable ma select more than
 DAppeaI from Municipal or Justice Court                           ll:
 DArbitration-related                                    Declaratory Judgment
                                                                                                                                                   UPrejudgment Remedy
                                                      DGamishment
 DAttachment                                                                                                                                       DProteetive Order
 DBill of Review                                      Ulnterpleader
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 DClass Action                                        DMandamns
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                                                           DPOSI—judgment
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Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21   Page 16 of 23 PageID 33




                       Exhibit E4
      Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                  Page 17 of 23 PageID 34




                              GEORGE L. ALLEN, SR. COURTS BUILDING
                                600 COMMERCE STREET, SUITE 5 10-B
                                      DALLAS, TEXAS 75202-4630
                                                214-653-6510

                                               March O4, 2021
JANE LEGLER BYRNE
NEILL & BYRNE PLLC
3 141 HOOD STREET SUITE 310
DALLAS TX 752 1 9

          Re:    DC-21-02065,           JACQUELINE FRANKLIN             vs.   AS AMERICA INC.,

                                  NOTICE OF INTENT TO DISMISS

        Please take notice that, pursuant to Rule 165A of the Texas Rule of Civil Procedure and the
Court’s inherent power, the Court intends to dismiss the above captioned action for want of prosecution
for one or more of the following reasons:

       (X) Plaintiff has yet to obtain service on one or more defendants. (OR)

       (X) Plaintiff has yet to le a motion for default judgment against one or more defendants, though
       defendant was served and time to answer has expired.

       () Plaintiffs motion for default judgment was denied.

       () Failure to attend scheduling conference or provide an agreed scheduling order prior to
       scheduling conference date.

       () Parties have yet to provide a judgment following verdict at trial.

       () Parties have yet to provide a judgment/dismissal following announcement of settlement.

       () Other reasons reected   in the le.

       Hearing is set for 05/24/2021 @ 9:00 A.M. If you wish to retain the case on the docket, you
mear at the hearing. or contact the Coordinator in a reasonable amount of time prior to the
hearing to request an extension. Failure to appear and show good cause why this case should not be
continued on the court’s docket will result in dismissal.

                                                               Sincerely,
                                                               Martin J. Hofnan
                                                               District Judge
                                                               68th District Court
                                                               Dallas County, Texas
Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21   Page 18 of 23 PageID 35




                       Exhibit E5
      Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                  Page 19 of 23 PageID 36




                              GEORGE L. ALLEN, SR. COURTS BUILDING
                                600 COMMERCE STREET, SUITE 5 10-B
                                      DALLAS, TEXAS 75202-4630
                                                214-653-6510

                                               March O4, 2021
AS AMERICA INC.,
SERVING REG AGENT CORPORATION TRUST COMPANY
1999 BRYAN STE 900
DALLAS TX 75216-3136

          Re:    DC-21-02065,           JACQUELINE FRANKLIN             vs.   AS AMERICA INC.,

                                  NOTICE OF INTENT TO DISMISS

        Please take notice that, pursuant to Rule 165A of the Texas Rule of Civil Procedure and the
Court’s inherent power, the Court intends to dismiss the above captioned action for want of prosecution
for one or more of the following reasons:

       () Plaintiff has yet to obtain service on one or more defendants.

       () Plaintiff has yet to le a motion for default judgment against one or more defendants, though
       defendant was served and time to answer has expired.

       () Plaintiffs motion for default judgment was denied.

       () Failure to attend scheduling conference or provide an agreed scheduling order prior to
       scheduling conference date.

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       () Parties have yet to provide a judgment/dismissal following announcement of settlement.

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mear at the hearing. or contact the Coordinator in a reasonable amount of time prior to the
hearing to request an extension. Failure to appear and show good cause why this case should not be
continued on the court’s docket will result in dismissal.

                                                               Sincerely,
                                                               Martin J. Hofnan
                                                               District Judge
                                                               68th District Court
                                                               Dallas County, Texas
Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21   Page 20 of 23 PageID 37




                       Exhibit E6
                                                                                                                                       FILED
                                                                                                                            3/8/2021 12:00 AM
                                                                                                                             FELICIA PITRE
           Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                         Page 21 of 23 PageID 38              DISTRICT CLERK
                                                                                                                       DALLAS CO., TEXAS
                                                                                                                    Deondria Grant DEPUTY

                                                   CAUSE N0. Deal-02065
                                                                                         1N   THE DISTRICT COURT
          JACQUELINE FRANKLIN,
                                                                 g

                                Putnam),                         3
          vs.                                                    §                      68TH JUDICIAL DISTRICT

          As AMERICA, INC. d/b/a AMERICAN                        g
          STANDARD,                                              §
                               Defendants).                      §                       DALLAS COUNTY, TEXAS



    Came to my hand on Friday, March 5, 2021 at 9:05 AM,
    Executed at: 1999 BRYAN STREET, SUITE 900, DALLAS, TX 75201
    within the county ofDALLAS at 9:13 AM, on Friday, March 5, 2021,
    by delivering to the within named:

                                  AS AMERICA INC. D/BIA AMERICAN STANDARD

    By delivering to its Registered Agent, CORPORATION TRUST COMPANY
    By delivering to Authorized Agent, LINDSEY BARRIENTEZ
    a true copy of this

                      CITATION and PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND

    having      rst    endorsed thereon the date   of the delivery.

I am a person not less than eighteen (18) years of age and I am competent to make this oath. I am a resident ofthe State of
Texas. l have personal knowledge of the facts and statements contained herein and aver that each is true and correct. l am
not a party to nor related or ailiated with any party to this suit. l have no interest in the outcome ofthe suit. I have never
been convicted of a felony or of a misdemeanor involving moral turpitude. I am familiar with the Texas Rules of Civil
Procedure, and the Texas Civil Practice and Remedies Codes as they apply to service of process. l am certified by the
Judicial Branch Certification Commission to deliver citations and other notices from any District, County and Justice Courts
in and for the State ofTexas in compliance with rule 103 and 501.2 ofthe TRCP.”

    My name is Tracy Edwards, my date ofbirth is September 15, I963 and my address is 5470 LBJ. Freeway, Dallas,
    Texas, 75240 in the county of Dallas, United States of America. I declare under penalty of perjury that the foregoing
    is true and correct.

    Executed in Dallas County, State ofTexas, on Friday, March 5, 202]




    By:
          Tré’cy dwards - Psc 1872 - Exp 03131122
          served@specialdellvery.com
                      Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                              Page 22 of 23 PageID 39




FORM N0. 353-3 - CITATION                                                                                                                ESERVE
THE STATE OF TEXAS                                                                                                                    CITATION

To:     AS AMERICA INC. dlbla AMERICAN STANDARD
                                                                                                                                     DC-2 1-02065
        BY SERVING ITS REGISTERED AGENT CORPORATION TRUST COMPANY
        I999 BRYAN STE 900
        DALLAS TX 7521 6-3136
                                                                                                                                 JACQUELINE FRANKLIN
GREETINGS:                                                                                                                                   vs.
You have been sued. You may employ an attorney. lfyou or your attorney do not le a written                                           AS AMERICA INC.
arswer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next followin th expiration of
twenty days aer you were served this citation and petition, a defaultjudgment may be taken against you. In addition
to ling a written answer with the clerk, you may be required to make initial disclosures to the other parties ofthis                  ISSUED THIS
suit. These disclosures generally must be made no later than 30 days alter you tile your answer with the clerk. Find            18th day of February, 2021
out more at TexnsLawHelp.org. Your answer should be addressed to the clerk of the 68th District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                    FELICIA PITRB
Said Plainti'being   JACQUELINE FRANKLIN                                                                                         Clerk District Comts,
Filed in said Court 16th day o-‘ebruary,   2021 against                                                                          Dallas County, Texas

AS AMERICA INC. dlbIa AMERICAN STANDARD
                                                                                                                           By: CARLENIA BOULIGNY, Deputy
For Suit, said suit being numbered 11021-02065, the nature of which demand is as follows:
Suit on EMPIDYMENT etc. as shown on said petition, a copy of which accompanies this citation. lfthis citation is                 Attorney for Phintit’f
not served. it shall be returned unexecuted.                                                                                         JANE LEGLER
                                                                                                                               NEILL LEGLER COLE PLLC
WITNESS: FELICIA PI'I'RE. Clerk ofthe District Courts ofDallas, County Texas.                                                 3141 HOOD STREET SUITE 310
Given under my hand and the Seal ofsaid Courtat otiice this 18th day ofFebruary, 2021.
                                                                                                                                    DALLAS TX 75219
ATTEST: FELICIA PI‘I‘RB, Clerk ofthe District Courts ofDallas, County, Texas                                                          214-748-7777
                                                                                           A    a                               jane@nlcemployeelaw.com


                           By   amide/aw           gm ’ 7 7                .Depmy
                                                                                                                                .nauas coum
                                                                                                                                  samples sees
                                 CARLENIA BOULIGNY                                                                     _             NOT PAID             _...
                          Case 3:21-cv-00709-K Document 1-5 Filed 03/26/21                                                 Page 23 of 23 PageID 40




                                                                          OFFICER'S RETURN
 Case No.   :   DC-21-02065

 Court No.681h District Court

 Style: JACQUELINE FRANKLIN
 VS.

 AS AMERICA INC,
 Came lo hand on the                         day of                       . 20            , at                 o'clock             M. Executed at
 within lhc County of                                    at                 o'clock              .M. on the                       day of                                                _,


 20                     , by delivering to the within named



 each in person, a true copy oflhis Cilalion logclher with the accompanying copy of this pleading, having rst            endorsed on same date ofdclivcry.   Th: distance actually uavcled by
 me in serving such   pm      “as              mils and my fees are as follows: To certify which witness my hand.
                                 For serving Citation          S

                                 For mileage                  S                                  of                           County,

                                For Notary                     S                                 By                                                    Dcputy

                                                                   (Must be veried    ifscrvcd outside the State ofTexas.)

 Sigied and sworn to by the said                                       before me this                 day of                               .   20

 to certify which Witness my hand and seal of oce.


                                                                                                 Notary Public                                        County




mum/RFFW"                                                                                                                                                       mum/AFFIDAVIT
parlor           :mcHEn                                                                                                                                           Pacer x antcntn
